  Case 19-10782       Doc 46     Filed 06/18/19 Entered 06/18/19 12:25:51            Desc Main
                                   Document     Page 1 of 6


                          UNITED STATES BANKRUPTCY COURT
                                       FOR THE
                             DISTRICT OF MASSACHUSETTS


 In re                                                IN PROCEEDINGS UNDER
 ANDREW GREENHUT,                                     CHAPTER 13
                Debtor                                CASE NO.: 19-10782


                      OBJECTION OF DEBTOR TO MOTION OF
                   GITA SRIVASTAVA TO DISMISS DEBTOR’S CASE

       NOW COMES the Debtor, Andrew Greenhut, and herby serves notice, pursuant to 11

U.S.C. § 1307(c), of his Objections to the Motion of Unsecured Creditor Gita Srivastava (the

“Creditor”) to Dismiss Debtor’s Case (the “Motion”) and as grounds therefor, the debtor states as

follows:

1. At the outset, the Creditor has failed to identify any of the enumerated bases for the dismissal

   of this Chapter 13 case as set forth under 11 U.S.C. § 1307(c). All of the bases identified by

   the Creditor in her Motion to Dismiss Debtor’s Case, other than the question of the Debtor’s

   eligibility to file a Chapter 13 Voluntary Petition under 11 U.S.C. § 109(e), are, in point of

   fact, merely complaints associated with the confirmation of the Debtor’s First-Amended

   Chapter 13 Plan. Specifically, the creditor questions (a) the “good faith” of the Debtor in

   proposing his First Amended Chapter 13 Plan and (b) whether or not the Debtor is utilizing

   all of his “disposable income”, within the meaning of 11 U.S.C. § 1325(b)(2), proposing to

   pay a dividend to unsecured creditors (including the Creditor) under the terms of the First

   Amended Chapter 13 Plan.

2. With respect to the Creditor’s presentation of allegations regarding the “Prepetition Divorce

   Proceedings” and the “Debtor’s Bankruptcy Filing” contained in the Motion, the Creditor has

   demonstrably mischaracterized the actual objective history between the parties and, in
     Case 19-10782       Doc 46     Filed 06/18/19 Entered 06/18/19 12:25:51             Desc Main
                                      Document     Page 2 of 6


      particular, that the Debtor actions regarding the litigation was in any way “frivolous”. With

      respect to the 2017 Enforcement action brought by the Creditor against the Debtor, among

      the relief sought by her was the allegation that she was entitled, in loco parentis, for the

      parties’ daughter, D.S. to make a recovery against the Debtor under that portion of the

      Marital Settlement Agreement that should the Debtor obtain “a windfall event, such as his

      receiving an inheritance, a large increase in income, or a large gift, any of which are in

      excess of $30,000 per year or more, husband shall transfer all his interest or all of such

      amount into an account at the discretion of and as directed by wife for the child, D.S.., or in a

      trust for the benefit of the child, D.S.” \1 Such additional relief was denied by the Texas

      District Court as part of its Enforcement Judgment.\2 Moreover, the Debtor was, in fact, quite

      successful in obtaining a decision in his favor before the Texas Court of Appeals in which it

      was found that the Courts of the State of Texas could not assert jurisdiction to make

      determinations regarding child custody and parental rights concerning the parties’ child, D.S.

      under the Texas version of the Uniform Child Custody Jurisdiction and Enforcement Act.

3. With respect to the Amended Proof of Claim filed by the Creditor, based upon her allegations

      set forth in paragraph 12 of the Motion, the creditor is seeking an additional $126,249.17, not

      in her individual capacity, but rather in a representative capacity, on behalf of the parties’

      daughter, D.S., so-called. The Creditor’s original proof of claim related solely to claims that



1/
    Agreed Final Decree of Divorce dated November 25, 2015, “Property Awarded to The
Child, D.S., C-2, pp. 13. See Exhibit “C” to Objection of Debtor to The Amended Proof of Claim
of Gita Srivastava Claim No. 8 And Request for Evidentiary Sanctions Under Fed. R. Bankr.
Pro. 3001(c)(2)(D).
2/
    See, pp. 7 on Order on Petitioner's First Amended Petition For Enforcement Of
Property Division, See Exhibit “D” to Objection of Debtor to The Amended Proof of Claim of
Gita Srivastava Claim No. 8 And Request for Evidentiary Sanctions Under Fed. R. Bankr. Pro.
3001(c)(2)(D).
     Case 19-10782       Doc 46      Filed 06/18/19 Entered 06/18/19 12:25:51               Desc Main
                                       Document     Page 3 of 6


      she individually had as against the Debtor. The Creditor’s “Amended” Proof of Claim is not

      “amended” at all because it does not relate to rights that she has individually as in her

      original proof of claim; rather, this is a claim of a separate, distinct party, that requires a

      separate proof of claim since it relates to the rights of a person other than the Creditor herself.

      As such, because the “Amended Proof of Claim” was filed on June 5, 2019 after the bar date

      for the filing of all such claims, it is subject to disallowance pursuant to 11 U.S.C. Section

      502(b)(9).\3

4. Contemporaneously with the filing of this objection, the Debtor has filed an Objection to the

      Creditor’s Amended Proof of Claim under 11 U.S.C. §§ 502(b)(1) and 502(b)(9). As a

      consequence of the foregoing the Debtor’s, based upon the original, timely-filed, proof of

      claim filed by the Creditor, the total unsecured debt comprising the Debtor’s Chapter 13

      estate, based upon the timely proofs of claim filed with the Court, amounts to a grand total of

      $394,345.47. That sum is less than the unsecured debt limit as of the date of the Debtor’s

      Chapter 13 filing under 11 U.S.C. Section 109(e) of $394,725.00. Therefore, there is no

      necessity for the dismissal of the case for lack of eligibility under 11 U.S.C. Section 109(e).

5. The Debtor reaffirms that the Debtor’s expenses, as set forth in the Debtor’s Schedule “J”,

      accurately reflect the Debtor’s expenses. In particular, the amount of the Debtor’s continuing

      legal expenses is due to the fact of the ongoing litigation between the parties in the courts of

      the State of Texas. Indeed, but for the Creditor’s attempt in the Texas Supreme Court to




3/
    See In re San Miguel Sandoval, 327 B.R. 493 (B.A.P. 1st Cir., 2005) (notice sent to
attorney sufficient to impose obligation on creditor to monitor proceedings; untimely filed proof
of claim disallowed as creditor’s counsel was aware of claim deadline); accord In re Manausa,
2013 WL 12233953 (Bankr. N.D. Fla. Dec. 12, 2013) (e-mail notice received by counsel
providing less than thirty-six (36) hours’ notice held insufficient). See also Gee v. Breedlove (In
re Breedlove), Adv. Pro. No. 16-5179 (Bankr. N.D. Ga., 2018).
  Case 19-10782      Doc 46     Filed 06/18/19 Entered 06/18/19 12:25:51               Desc Main
                                  Document     Page 4 of 6


   reverse a decision in favor of the Debtor from the Texas Court of Appeals in which it was

   found that the Courts of the State of Texas could not assert jurisdiction to make

   determinations regarding child custody and parental rights concerning the parties’ child, D.S.

   under the Texas version of the Uniform Child Custody Jurisdiction and Enforcement Act, the

   debtor would have no necessity for the continued retention and payment of legal counsel to

   defend the appeal that she herself is prosecuting.

6. The Debtor’s Chapter 13 Plan provides for the payment of all of the Debtor’s” disposable

   income”, as that phrase is understood pursuant to 11 U.S.C. Section 1325(b)(2) and as

   calculated and set forth on the Debtor’s Form 122C-1 and 122C-2. Under Line 45 of

   Debtor’s Form 122C-2, “Chapter 13 Calculation of Your Disposable Income”, the Debtor’s

   monthly “disposable income” has been determined to be $1,747.06, which amounts to, over

   the 60-month “applicable commitment period”, to a total of $104,823.60. The Debtor’s First

   Amended Chapter 13 Plan proposes to pay unsecured creditors, including the Creditor, the

   aggregate amount of $104,835.00, thereby exceeding the amount needed in order to confirm

   a Chapter 13 Plan based upon an unsecured creditor’s objection to the same pursuant to 11

   U.S.C. Section 1325(b)(1). The Debtor has maintained his payments on a regular basis to the

   Chapter 13 Trustee.

       7.     The Debtor respectfully asserts that, the Creditor’s vituperations to the contrary

   notwithstanding, by any objective measure, the Debtor’s chapter 13 case and Chapter 13 plan

   were submitted with the requisite “good faith” as (a) the claims involved are dischargeable in

   nature, (b) the Debtor did not misrepresent his assets of income on his Schedules or

   Statement of Financial Affairs, (c) the Chapter 13 Plan pays general unsecured creditors, like

   the Creditor at bar, a dividend greater than what might otherwise be received in a Chapter 7
     Case 19-10782      Doc 46      Filed 06/18/19 Entered 06/18/19 12:25:51             Desc Main
                                      Document     Page 5 of 6


      case and (d) the Debtor’s motivation in this Chapter 13 case is plainly to settle his financial

      affairs without the continued risks and harassments associated with the Creditor’s pre-

      petition garnishment of his assets and income which have been amply documented as part of

      the Debtor’s Objection to the Creditor’s Amended Proof of Claim. \4

      WHEREFORE, the Debtor respectfully requests that the Motion of Unsecured Creditor Gita

Srivastava to Dismiss Debtor’s Case be denied and for such other and further relief as the Court

deems mete and just under the circumstances.

                                                ANDREW GREENHUT, Debtor
                                                By his Attorney,

Date: 6/18/2019                                 /s/ Richard N. Gottlieb, Esq.
                                                Richard N. Gottlieb, Esq. BBO# 547970
                                                Law Offices of Richard N. Gottlieb
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                                                rnglaw@verizon.net




4/
    See In re Richall, 470 B.R. 245, 2012 BNH 3 (Bankr. N.H., 2012) (Where Debtor’s Chapter
13 Plan complies with the requirements of 11 U.S.C. § 1325(b), Chapter 13 Trustee’s objection
to confirmation based on lack of good faith is overruled.). Compare Zizza v. Pappalardo, 500
B.R. 288 (B.A.P. 1st Cir., 2013) (Where Debtor failed to list two assets, a pair of civil lawsuits
she was prosecuting for a monetary recovery, the bankruptcy court was justified in find lack of
“good faith” requiring the conversion of the case to Chapter 7.)
  Case 19-10782       Doc 46    Filed 06/18/19 Entered 06/18/19 12:25:51             Desc Main
                                  Document     Page 6 of 6


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                                CERTIFICATE OF SERVICE

       I, Richard N. Gottlieb, Esq., do hereby certify that I have this day served a copy of the

Objection of Debtor to Objection of Gita Srivastava to Dismiss Debtor’s Case electronically via

the CM/ECF Electronic Messaging System on the persons listed below.


Date: June 18, 2019                          /s/ Richard N. Gottlieb, Esq.
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PERSONS SERVED:

Carolyn Bankowski, Esq.
Chapter 13 Trustee
(Served via CM/ECF)

Alex Mattera, Esq.
Partridge, Snow and Hahn, LLP
Counsel to Gita Srivastava
(Served via CM/ECF)
